Cases P2OrcrW0Gho Rib Detumentis2 Firhn@en220 Page 2of2 Page ID#2B

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2}

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for fname of individual and title, if any) Novartis Pharmaceuticals Corporation

was received by me on (date) 5/7/2020

(1 I personally served the summons on the individual at (place)

 

 

on. (date) ; or
(1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

, and mailed a copy to the individual’s last known address; or

 

On (date)

CH I served the summons on (name of individual) Johnnie Myers, Litigation Management Representativ@ho is

 

designated by law to accept service of process on behalf of (name of organizatidnp VatUS Pharmaceuticals Corporation

 

1 | returned the summons unexecuted because sor

 

(7 Other (specify):

I declare under penalty of perjury that this information is true.

Date, 5/12/2020, Fae’ Lo Mr

” Server's si gnature

Ted Cordasco / Process Server

 

Printed name and title
Certified Process Service LLC
555 Grand Avenue #77251
West Trenton, NJ 08628

 

Server's address

Additional information regarding attempted service, etc:

Documents Served: Summons In A Civil Action,
Complaint, Uniform Trial Practices & Procedures

Service Address:

Registered Agent, Corporation Service Company
Princeton South Corporate Center

100 Charles Ewing Blvd, Suite 160, Ewing, NJ 08628
GaSe820-CVe OO: 209 WES (oc ument #1 Filed 05/0150 page 3 ge 1 of 22 Page ID #34
BSE SON OOS6S IPE DOU IAS FIST CaMO Pa8eS OFS oP Pan,i0,i29

AQ 4449 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Southern District of Illinois

ALLEN GARLAND
Snel Plaintiff a seni

Vv. Civil Action No. 3:20-cv-00269

IS PILAR MACE PIC ALS COR PORATION,
Defendant(s)

Peaisel ait Namie Fait Sha Sanat ae et Nine UM ae ee

SUMMONS IN A CIVIL ACTION

To: @efendant's name and address)

Novartis Pharmaceuticals Corporation
! h Ridgedale Avenue c/o Corporation Service Company

BE

anover, NJ 07936

 
  
  

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:

James G. Onder
OnderLaw, LLC

110 E. Lockwood Avenue
St. Louis, MO 63119

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: {12/2020 --

   

ST ae,
HREOC RIRE Rec Aisi Ped paged ois bage iB x6

Case 3:20-cv-00269-JPG Document1-2 Filed 03/12/20 Pageiof2 Page ID #22

  

(Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Ulinois

ALLEN GARLAND

Plaintigiy sce vung ng_es
Civil Action No. 3:20-cv-00269

DROPIN PILAR MAC EET ERCALS CORPORATION,
Defendani(s)

eat Mat ena det nal Sadan snag Sade ett

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address}

Novartis Pharmaceuticals Corporation
1 South Ridgedale Avenue
East Hanover, NJ 07936

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a\(2) or G) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

James G. Onder
OnderLaw, LLC

110 E. Lockwood Avenue
St. Louis, MO 63119

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 3/12/202). : . 7

 

cone

 
